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‘ JoAnn Squillace**

May11,2015

*Admitted NY, NJ, FL
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Via ECF

Honorable Marilyn Go

United States Magistrate ludge
United States Distriot Court
Eastern District of New Yorl<;
225 Cadman PlaZa East
Brooldyn, New York 1120]

Re: Miehelle Alexander v. City ofNeW York, et.al.
Doelcet No.: 12ev5915(ENV)(MG)

Dear Judge Go,

l trust all is Well With Your Honor.

1 am JoAnn Squillace of the LaW Firrn of Dn,imrnond & Squillace, PLLC, attorneys
for Plaintiff herein. l Write this letter jointly With Assistant Corporation Counsel
Christopher Bouriat, to advise as to the status of the above captioned matter.

Please be advised that the matter has been settled and, to that end, Mr. Bouriat
provided the undersigned With drafted settlement papers last Weel< Which the
undersigned edited and had Plaintiff sign today. I have already forwarded said

settlement documents to Mr. Bouriat for his signature and processing for payment

Thanl< You for Your time and attention herein.

 

 
  
 

V~.. trul yours, *

SQUILLACE S 4217)

ACC Christopher Bouriat, `Esq. (Via ECF)
Ofi“ice of Corporation Counsel
Attorney for Defendants

 

